Case 25-30155 Document 80-4 Filed in TXSB on 05/14/25 Page 1 of 6
Case 25-30155 Document 68-3
                       80-4 Filed in TXSB on 05/05/25
                                             05/14/25 Page 1
                                                           2 of 5
                                                                6




                                                                EXHIBIT C
Case 25-30155 Document 68-3
                       80-4 Filed in TXSB on 05/05/25
                                             05/14/25 Page 2
                                                           3 of 5
                                                                6




                                                                EXHIBIT C
Case 25-30155 Document 68-3
                       80-4 Filed in TXSB on 05/05/25
                                             05/14/25 Page 3
                                                           4 of 5
                                                                6




                                                                EXHIBIT C
Case 25-30155 Document 68-3
                       80-4 Filed in TXSB on 05/05/25
                                             05/14/25 Page 4
                                                           5 of 5
                                                                6




                                                                EXHIBIT C
Case 25-30155 Document 68-3
                       80-4 Filed in TXSB on 05/05/25
                                             05/14/25 Page 5
                                                           6 of 5
                                                                6




                                                                EXHIBIT C
